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   8                            UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10                                 WESTERN DIVISION
  11
  12   OX LABS INC., a California                   Case No. CV 18-5934-MWF(KSx)
       Corporation,
  13                                                DECLARATION OF GEORGE
  14               Plaintiff,                       MELIKA ON BEHALF OF SFOX,
                                                    INC. RATIFYING ACTION BY
  15                      vs.                       PLAINTIFF OX LABS, INC.
  16   BITPAY, INC., a Delaware Corporation,
  17
       and Does 1-10,

  18               Defendants.
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       DECLARATION OF GEORGE MELIKA IN SUPPORT OF RATIFICATION
       Case No. CV 18-5934-MWF(KSx)
Case 2:18-cv-05934-MWF-KS Document 37-1 Filed 10/17/19 Page 2 of 4 Page ID #:283



   1   I, George Melika, declare:
   2        1.      I am the Chief Financial Officer of SFOX, Inc. (“SFOX”). I am also a
   3   co-founder and executive of Plaintiff Ox Labs, Inc. (“Ox Labs”). I am familiar with
   4   the pending litigation between Ox Labs and defendant Bitpay, Inc. (“Bitpay” or
   5   “Defendant”). I understand that Ox Labs is the named plaintiff in this litigation. I
   6   have personal knowledge of the facts set forth in this Declaration, and if called as a
   7   witness, could and would testify competently thereto.
   8        2.      I understand that Defendant has questioned whether Ox Labs is the
   9   real party in interest in this litigation. As the Chief Financial Officer of SFOX, I
  10   am authorized to provide this declaration in support of ratification by SFOX. Ox
  11   Labs wholly owns SFOX, and the principals and co-founders for both Plaintiff and
  12   SFOX are ultimately the same people—Akbar Thobhani and myself. SFOX is the
  13   transaction arm of Ox Labs for its cryptocurrency trading platform of the same
  14   name. The crediting error that underlies this lawsuit against Defendant occurred on
  15   an account Defendant had on SFOX. Since the crediting error at issue in this matter
  16   was discovered, at all times Defendant has dealt with executives of Ox Labs, as the
  17   owner of SFOX. Moreover, the financial harms alleged in the Complaint and at
  18   issue in this action directly impact Ox Labs’ bottom line.
  19        3.      SFOX hereby ratifies both the original commencement and
  20   continuation of this action by Ox Labs.
  21        4.      SFOX further agrees to be bound by the result of the action that has
  22   been brought by Ox Labs against Defendant. In particular, SFOX agrees to be
  23   bound by any judgment which may be rendered in this action that determines
  24   liability for the incident at issue, as well as any damages or other relief found
  25   recoverable by Ox Labs from Defendant.
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  28   DECLARATION OF GEORGE MELIKA IN SUPPORT OF RATIFICATION
       Case No. CV 18-5934-MWF(KSx)
Case 2:18-cv-05934-MWF-KS Document 37-1 Filed 10/17/19 Page 3 of 4 Page ID #:284



   1       5.       SFOX further agrees that if Ox Labs’ claims against Defendant
   2   proceed to judgment and/or settlement, SFOX will not institute a separate action
   3   against Defendant arising out of the facts and circumstances at issue in this case.
   4       I declare under penalty of perjury under the laws of the state of California and
   5   the laws of the United States of America that the foregoing is true and correct to the
   6   best of my knowledge.
   7         Executed on October ____,
                                  17th 2019, in _________________,
                                                Los Angeles        California.
   8
   9                                            ______________________
  10                                                George Melika

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  28   DECLARATION OF GEORGE MELIKA IN SUPPORT OF RATIFICATION
       Case No. CV 18-5934-MWF(KSx)
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   1                             CERTIFICATE OF SERVICE

   2         I certify that counsel of record, listed below, is being served on October 17,
   3   2019, with a copy of this document through the CM/ECF Filing System as identified
   4   on the Notice of Electronic Filing dated October 17, 2019.
   5
                                                                    /s/ Anahit Samarjian
   6                                                                Anahit Samarjian
   7

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  28   DECLARATION OF GEORGE MELIKA IN SUPPORT OF RATIFICATION
       Case No. CV 18-5934-MWF(KSx)
